Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 1 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 2 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 3 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 4 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 5 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 6 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 7 of 8
Case 4:08-cr-00185-BRW   Document 63   Filed 05/08/09   Page 8 of 8
